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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )                    4:04CR3008
              V.                             )
                                             )
CHRISTIAN P. FIROZ,                          )
                                             )                      ORDER
                      Defendant.             )

       For the purposes of clarity,

       IT IS ORDERED that:

      1.     The government’s objection to the appearance of counsel (filing 103) has been
denied. (See minutes, filing 108.) The Clerk’s office shall terminate filing 103 as a motion.

        2.     Based upon the defendant’s submissions, and realizing that the government has
not submitted a brief, the undersigned is tentatively of the opinion that the court lacks
jurisdiction to consider allegations 4, 5 and 6 of the amended petition because they are new
allegations and no petition, summons or warrant regarding those allegations was filed or
issued before defendant’s probation would have otherwise expired. See18 U.S.C. § 3565(c).
However, the court is tentatively of the opinion that it has jurisdiction to consider allegation
3 of the amended petition. Allegation 3 of the amended petition appears only to flesh out
allegation 1 of the original petition by adding the year 2005 to the government’s claim that
the defendant submitted false monthly reports regarding his income in 2006. (Compare
filing 94 ¶ 1 with filing 106 ¶ 3.) In any event, the parties should be prepared to address the
defendant’s motion to dismiss (filing 109) at the evidentiary hearing scheduled for May 4,
2007. The court will take up that motion first.

       April 27, 2007.                      BY THE COURT:
                                            S/ Richard G. Kopf
                                            United States District Judge
